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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA

                CASE NO.: 9:17-cv-81005-MIDDLEBROOKS/Brannon

  TIFFANY TATE and
  QUANTUM LUXURY
  PROPERTIES, LLC,

        Plaintiffs,
  vs.

  IBIS PROPERTY OWNERS
  ASSOCIATION, INC. and
  IBIS GOLF & COUNTRY CLUB, INC.

       Defendant.
  ________________________________/

  DEFENDANTS, IBIS PROPERTY OWNERS ASSOCIATION, INC. AND IBIS
     GOLF & COUNTRY CLUB, INC.’S, JOINT MOTION TO COMPEL
             PLAINTIFFS TO APPEAR FOR DEPOSITION

        COME NOW, Defendants, IBIS PROPERTY OWNERS ASSOCIATION,

  INC. and IBIS GOLF & COUNTRY CLUB, INC. (hereinafter collectively

  “Defendants”), by and through the undersigned Counsel, pursuant to Fed. R. Civ. P.

  30, and hereby files this Motion to Compel Plaintiffs, TIFFANY TATE and

  QUANTUM LUXURY PROPERTIES, LLC (hereinafter collectively “Plaintiffs”), to

  appear for depositions and in support thereof state the following:
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          1.      This litigation began on or about September 5, 2017, when the Plaintiffs

  filed a Complaint against the Defendants under allegations of discrimination. [D.E.

  3.]

          2.      The office of the undersigned Counsel has been trying to coordinate

  dates for the depositions of Plaintiffs since December 20, 2017.                     Copies of

  correspondences regarding the Plaintiffs’ depositions are attached hereto as

  Composite Exhibit “A”

          3.      On January 11, 2018, Plaintiffs’ Counsel provided the undersigned with

  one date to take the deposition of four witnesses, two of which are Plaintiffs. (See

  Exhibit “B”)

          4.        On January 12, 2018, the undersigned notified Plaintiffs’ Counsel that

  a single day for four depositions was not possible and as such, requested that

  Plaintiffs’ Counsel provide at least three (3) dates of availability for the requested

  depositions. (See Exhibit “C”)

          5.      Thereafter, on January 17, 2018, January 23, 2018 and January 24, 2018,

  the undersigned Counsel sent correspondences to Plaintiffs’ Counsel again requesting

  Plaintiffs’ availability for the taking of their deposition. (See Composite Exhibit “D”)
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          6.      On January 24, 2018, Plaintiffs’ Counsel notified the undersigned that

  he did not believe that Plaintiffs’ depositions would take more than one day. (See

  Exhibit “E”)

          7.      On January 24, 2018, the undersigned notified Plaintiffs’ Counsel that

  they would agree to Plaintiffs’ deposition to be taken on February 23, 2018, a date

  provided by Plaintiffs’ Counsel on January 11, 2018. (See Exhibit “F”)

          8.      However, Plaintiffs’ Counsel responded that Plaintiffs’ were no longer

  available on the previously provided date and that Plaintiffs’ Counsel was not

  available until the first two weeks in March or the first few days in April. (See

  Exhibit “G”)

          9.      The undersigned notified Plaintiffs’ Counsel that this case is currently

  under a Trial Order which has set a discovery deadline of March 6, 2018 and

  requested that Plaintiffs’ Counsel provide his clients’ availability in February to

  ensure that the deadlines set forth in the Trial Order are met. (See Exhibit “H”)

          10.     As of close of business on January 25, 2018, Plaintiffs’ Counsel has not

  responded to the undersigned numerous attempts to schedule Plaintiffs’ deposition

  necessitating the instant motion.

          11.     Federal Rules of Civil Procedure 30(a)(1) provides that “A party may,

  by oral questions, depose any person, including a party, without leave of court except
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  as provided in Rule 30(a)(2). The deponent’s attendance may be compelled by

  subpoena under Rule 45.

          12.     Plaintiffs’ steadfast refusal to ever coordinate their deposition dates has

  necessitated the instant motion.

          13.     Given the foregoing, the undersigned Counsel requests entry of an Order

  requiring Plaintiffs to sit for their deposition within fifteen (15) days of entry of this

  Order.

          14.     In an effort to secure a mutually agreeable date for the Plaintiffs’

  depositions without court action, and in good faith, the undersigned Counsel

  conferred with Plaintiffs’ Counsel regarding this discovery matter, but Plaintiffs

  refused to provide any dates of availability.

          15.     This Motion to Compel is not filed for the purpose of delay.

          WHEREFORE, Defendants, IBIS PROPERTY OWNERS ASSOCIATION

  INC. and IBIS GOLF & COUNTRY CLUB, INC., respectfully request that this

  Honorable Court enter an Order requiring Plaintiffs, TIFFANY TATE and

  QUANTUM LUXURY PROPERTIES, LLC, to appear for their depositions within

  fifteen (15) days of entry of this Order and any other relief this Court deems just and

  proper.
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on 26th day of January, 2018, I electronically filed

  the foregoing documents with the Clerk of Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record identified on

  the attached Service List in the manner specified, either via transmission of Notices

  of Electronically Filing generated by CM/ECF or in some other authorized manner

  for those counsel or parties who are not authorized to receive electronically Notice of

  Electronic Filing.

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                                                     /s/ Karen M. Nissen
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